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                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

R. ALEXANDER ACOSTA, Secretary of Labor, )
United States Department of Labor,            )
                                              )
                     Plaintiff,               )
                                              )
               v.                             )            Civil action no.: 1:18-cv-03953
                                              )
AC PALLETS LLC, an Illinois limited liability )            Judge Sara L. Ellis
company, CESAR MALVAEZ MUNOZ and              )
ALEJANDRO MALVAEZ MUNOZ,                      )
individually                                  )
                                              )
                     Defendants.              )


                                  JOINT MOTION FOR
                              ENTRY OF CONSENT JUDGMENT

        Plaintiff, R. ALEXANDER ACOSTA, Secretary of Labor, United States Department of

Labor ("Plaintiff"), filed a complaint against AC PALLETS LLC, an Illinois limited liability

company, CESAR MALVAEZ MUNOZ an individual, and ALEJANDRO MALVAEZ

MUNOZ, an individual, (collectively, “Defendants”), alleging violations of sections 7, 11 and

15 of the Fair Labor Standards Act of 1938, as Amended, 29 U.S.C. § 201 et. seq. (“the Act”).

Plaintiff and Defendants have signed a consent judgment, attached hereto, which resolves the

matter and respectfully request that the Court enter it. Defendants have granted permission to

Plaintiff to file this motion on behalf of both parties.
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      WHEREFORE, the parties respectfully request that the Court enter the attached consent

judgment.

                                                Respectfully submitted,

                                                KATE S. O’SCANNLAIN
                                                Solicitor of Labor

                                                CHRISTINE Z. HERI
                                                Regional Solicitor

                                                s/ Margaret A. Sewell
                                                MARGARET A. SEWELL
                                                Senior Trial Attorney

                                                Attorneys for Plaintiff, R. ALEXANDER
                                                ACOSTA, Secretary of Labor

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                               CERTIFICATE OF SERVICE

         I certify that a copy of the foregoing JOINT MOTION FOR ENTRY OF CONSENT

JUDGMENT and the executed consent judgment have been filed via the Court’s ECF-filing

system and served on the below-named individual via email and U.S. mail this 11th day of June,

2018.

                                    Nicholas Giordano
                                    1111 S. Prospect Avenue
                                    Park Ridge, Illinois 60068
                                    847-825-8855
                                    law@ncgesq.com


                                                   s/ Margaret A. Sewell
                                                   MARGARET A. SEWELL
                                                   Senior Trial Attorney
